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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
     JAMES R. SCOTT,                           Case No. CV 03-00978 ODW
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                                               DEATH PENALTY CASE
12         Petitioner,
13         v.                                  JUDGMENT (Fed. R. Civ. P. 54(b)
14   RON BROOMFIELD,1 Warden,
     California State Prison at San
15   Quentin,
16         Respondent.
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           Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the Court finds
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     there is no just reason for delaying the entry of final judgment with respect to the
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     claims adjudicated in the Court’s Order Granting Relief on Petitioner’s Claim of
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     Cumulative Ineffective Assistance of Counsel (“Order”). Accordingly, pursuant to the
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     Court’s Order, IT IS ADJUDGED THAT:
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           1. Petitioner’s Amended Petition for Writ of Habeas Corpus (“Petition”) (Dkt.
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     No. 151) is GRANTED with respect to Claim 16(G). The judgment of conviction in the
25
     matter of People v. Scott, Case No. A747321 of the California Superior Court of Los
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     1
      Ron Broomfield is substituted for his predecessors as Acting Warden of San Quentin
     State Prison pursuant to Federal Rule of Civil Procedure 25(d).
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1    Angeles County, is hereby VACATED. The State of California shall, no later than 120
2    days after the entry of this Judgment, either release Petitioner or grant him a new trial.
3          2. The Petition is DENIED with respect to Claim 14(I).
4          3. Respondent shall forthwith notify the Warden of San Quentin Prison of this
5    Court’s Judgment.
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     Date: December 7, 2021               ______________________________________
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                                                   OTIS D. WRIGHT, II
8                                                United States District Judge
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